                      IN THE UNITED STATES DISTRICT COURT FOR THE
                              WESTERN DISTRICT OF MISSOURI
                                   WESTERN DIVISION

UNITED STATES OF AMERICA,                          )
                                                   )
         Plaintiff,                                )
                                                   )
   v.                                              ) Criminal Action No.
                                                   ) 06-00103-07-CR-W-ODS
ROY L. McMAHAN, JR.,                               )
                                                   )
         Defendant.                                )


                                             ORDER

        The court received a psychological evaluation on Defendant McMahan dated May 18, 2006.

Defendant was examined by Robert Johnson, Ph.D., who found Defendant to be competent to stand

trial. During a hearing held before United States Magistrate Judge Robert Larsen on June 1, 2006,

Defendant and the government stipulated to the report of Dr. Johnson. Therefore, after making an

independent review of the record, it is

        ORDERED that Defendant’s motion for judicial determination of mental competency is

granted, the Report and Recommendation of Magistrate Judge Robert Larsen is adopted in its

entirety, and this court finds that Defendant is competent to stand trial. It is further

        ORDERED that this case is set for trial on the joint criminal jury trial docket commencing

August 28, 2006. It is further




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       ORDERED that, pursuant to 18 U.S.C. § 3161(h)(1)(A), the time between March 21, 2006,

and the date of this order is excluded in computing the time within which the trial of this criminal

action must commence.




                                               /s/ Ortrie D. Smith
                                              ORTRIE D. SMITH
                                              United States District Judge

Kansas City, Missouri
June 7, 2006




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